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                                   STATEMENT OF FACTS

       Your affiant, Special Agent Miller is assigned to the Washington Field Office, Criminal
Branch tasked in part with investigating criminal activity in and around the Capitol grounds. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws. The
U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        The Federal Bureau of Investigation (“FBI”) received tips from several informants that
Bradley Weeks (“WEEKS”) had posted a video on his Facebook page detailing his and others
invasion of the Capitol building. The first informant provided a link to the Facebook video, of
Brad Weeks speaking at the U.S Capitol on January 6, 2021, however the video was unavailable,
indicating it was likely removed. The second informant identified the Facebook page where the
video was posted as the brad.weeks.5 Facebook account, named the suspect as “Brad Weeks,” and
shared that Mr. Weeks resides in Baker County, Florida.

        FBI analysts searched various social media sites, including Facebook, but were unable to
find the video of WEEKS referenced by the informants. The FBI then received a digital copy of
the video posted by WEEKS from a third informant who is an associate of the first informant. The
third informant indicated that it did not know WEEKS but had received a copy of the video from
a third party who had downloaded and preserved it prior to removal from social media sites.

       The video appears to be filmed by WEEKS from the Upper West Terrace of the Capitol.
The first shot looks down on the crowd on the Capitol lawn. WEEKS then turns the camera
showing the level where he is standing. He captures people standing on a nearby balustrade and a
person also filming out towards the lawn.




        WEEKS then sets up his camera to show his face and launches into a speech declaring both
the actions he has taken and his intentions. “We’ve reached the steps. We’ve had to climb
scaffolding. We’ve had to climb ladders. We’ve had to break things to get through, but we’ve
gotten through. We’ve gotten through, and we are going to take back the Capitol! We’re taking
back our country! This is our 1776! This is where it’s gonna happen! This is where Tyranny will
fall! This is where America will rise! Look at this, America! Look at this!” The camera is then
turned again towards the lawn.
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      A fourth and separate informant also provided the below screenshot of Brad Weeks
Facebook page.




        A U.S. Capitol Police Supervisory Special Agent confirmed to your affiant these photos
show WEEKS inside the U.S. Capitol Building. Specifically, the hallway shown in the top portion
of the screenshot shows the South Door entrance accessible from Upper West Terrace, from where
WEEKS filmed the aforementioned video. The bottom half of that screenshot depicts WEEKS,
standing with a ramp behind him, which leads to the crypt underneath the Capitol Rotunda, in the
vicinity of Congressman Steny Hoyer’s office. According to the Supervisory Special Agent,
WEEKS is facing the South Door entrance in the bottom portion of the photograph.

      Finally, a fifth informant, who has known WEEKS for several years and is familiar with
WEEK’s appearance, was shown the below screenshot and identified the person pictured there as
Brad Weeks.
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        On January 14, 2021, an article featuring WEEKS appeared in the Baker County Press.
The article included a screen shot of WEEKS from a “deleted video from the Capitol riot of
January 6, 2021.” The second paragraph of the article stated, “During the uproar, Brad Weeks
said in a direct message to The Press he inhaled some tear gas after scaling a wall outside the
Capitol Building before going inside but was otherwise alright.” Your affiant requested a copy of
the message from WEEKS to the Baker County Press, which was provided. WEEK’s told the
reporter that he was inside of the Capitol and had been sprayed with gas but that he was otherwise
good.




       Law enforcement checked WEEK’s driver’s license as part of this investigation, and
learned that the license contained an address in the same county and state as identified by the
second and fifth informant above. Additionally, WEEK’s DMV photograph is consistent with the
individual depicted at the U.S. Capitol, as can be seen in the photograph below and the photographs
above.
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Bradley Weeks violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Bradley Weeks violated
40 U.S.C. § 5104(e)(2)(D)(G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Special Agent Josh Miller
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 19th day of January 2021.


                                                      ___________________________________

                                                      U.S. MAGISTRATE JUDGE
